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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------X
 OFFICIAL COMMITTEE OF UNSECURED
 CREDITORS OF EXETER HOLDING, LTD.,

                               Plaintiff,              MEMORANDUM & ORDER
                                                       13-CV-5475 (JS)(AKT)
             -against–

 LINDA HALTMAN, et al.,

                          Defendants.
 -------------------------------------X
 SEYBERT, District Judge:

             The Official Committee of Unsecured Creditors of Exeter

 Holding, Ltd. (“Plaintiff” or “the Committee”) commenced this

 adversary proceeding against officers, directors, and insiders of

 Exeter Holdings, Ltd. (“Exeter” or the “Company”) following the

 commencement of bankruptcy proceedings by Exeter.           (Compl., Docket

 Entry 3-9, ¶¶ 1-2.)       On September 18, 2013, the reference to the

 Bankruptcy Court was withdrawn, and proceedings began in this

 Court.    (Order Withdrawing Ref., Docket Entry 2.)          The Defendants

 include Arnold Frank and Sondra Frank; their three children Linda

 Haltman, Bruce Frank, and Larry Frank; and their grandchildren,

 trusts and other entities (collectively “Defendants”).            (Compl. ¶¶

 16-70.)     Plaintiff alleges that Defendants defrauded Exeter’s

 creditors by transferring funds to themselves, trusts, and other

 entities they control and seeks to recover approximately $29

 million.    (Compl. ¶¶ 3-7.)
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                              Currently pending before the Court is a motion to dismiss

 pursuant to Federal Rules of Civil Procedure 8(a), 9(b), and

 12(b)(6)1 filed by a group of Defendants referred to herein as the

 “Moving Defendants.”2                                          (Mot. to Dismiss, Docket Entry 240.)   The

 Moving Defendants consist of the following:


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 1 Pursuant to Federal Rules of Bankruptcy Procedure 7008, 7009,
 and 7012, Federal Rules of Civil Procedure 8, 9 and 12(b) are
 applicable to this adversary proceeding. FED. R. BANKR. P. 7008,
 7009, 7012.

 2 The Moving Defendants represent that Addendum A, attached to
 their Notice of Motion, accurately identifies the Defendants who
 have moved to dismiss. (Mot. to Dismiss, Addendum A, Docket
 Entry 240, at 4-7.) However, Addendum A and the Moving
 Defendants’ brief are inconsistent in this regard. (Compare
 Addendum A with Defs.’ Br., Docket Entry 241, at 2-3.)
 Additionally, a number of the Defendants listed in Addendum A
 have answered the Complaint, which precludes them from
 simultaneously moving to dismiss under Rule 12(b)(6). (See
 Arnold Frank and Sondra Frank Answer, Docket Entry 3-1; Property
 Corps. Answer, Docket Entry 3-3; Linda Haltman, Michael Haltman,
 Bruce Frank, and Kathleen Frank Answer, Docket Entry 3-4; Larry
 Frank Answer, Docket Entry 3-11.) See FED. R. CIV. P. 12(b) (“A
 motion asserting any of these defenses must be made before
 pleading if a responsive pleading is allowed.”). Therefore,
 because the following Defendants have answered, the Court will
 not consider them members of the group of Moving Defendants: (1)
 Linda Haltman, (2) Linda Haltman as trustee for the Arnold and
 Sondra Frank Irrevocable Trust, (3) Michael Haltman, (4) Bruce
 Frank, (5) Kathleen Frank, (6) 124 New York Avenue Corp., (7)
 140 Maggie Drive Corp., (8) 22 Bridge Lane Corp., (9) 22 West
 Hills Court Corp., (10) 29 Mill Farm Lane Corp., (11) 207
 Parrish Pond Road Corp., (12) 3 Lewis Lane Corp., (13) Begonia
 Court Corp., (14) Bittersweet Partners Inc., (15) Eden Rock
 Corp., (16) Maplewood Associates, Inc., (17) Short Path House
 Corp., (18) Sound Side Ventures, Ltd., and (19) Via Trenta Corp.
 The Court recognizes that a subset of the Moving Defendants
 filed an Answer on May 26, 2016. (Haltman Defs.’ Answer, Docket
 Entry 205.) However, because the motion to dismiss was filed
 several years prior, the Court will still consider those
 defendants as having moved to dismiss.
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               (1) the C.H. Trust,3 the Ryann Haltman Trust, the
               Samantha Haltman Trust, the B.F. Trust, the E.F. Trust,
               the J.F. Trust, the K.F. Trust, the Barbara Cohen – Linda
               Haltman Trust, the Murray Cohen – Linda Haltman Trust,
               the Barbara Cohen – Bruce Frank Trust, the Murray Cohen
               – Bruce Frank Trust, the Barbara Cohen – Larry Frank
               Trust, and the Murray Cohen – Larry Frank Trust
               (collectively “the Moving Trusts”);

               (2) Linda Haltman and Michael Haltman as trustees for
               the C.H. Trust, the Ryann Haltman Trust, and the Samantha
               Haltman Trust; Bruce Frank and Kathleen Frank as
               trustees for the B.F. Trust, E.F. Trust, the J.F. Trust,
               and the K.F. Trust; and Sondra Frank as trustee for the
               Barbara Cohen – Linda Haltman Trust, the Murray Cohen –
               Linda Haltman Trust, the Barbara Cohen – Bruce Frank
               Trust, the Murray Cohen – Bruce Frank Trust, the Barbara
               Cohen – Larry Frank Trust, and the Murray Cohen – Larry
               Frank Trust (collectively “the Moving Trustees”);

               (3) C.H., B.F., E.F., J.F., and K.F.4 (collectively “the
               Minor Grandchildren”);

               (4) Linda and Michael Haltman as guardians of C.H., and
               Bruce and Kathleen Frank as guardians of B.F., E.F.,
               J.F., and K.F. (collectively, “the Guardians of the
               Minor Grandchildren”); and

               (5) Ryann Haltman and Samantha Haltman, (together “the
               Non-Minor Grandchildren”). (Defs.’ Br. at 2-3.)

                              For the reasons that follow, the motion to dismiss is

 GRANTED PART and DENIED IN PART.



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 3 To protect the identities of the minors involved in this
 matter, their names are abbreviated.

 4 The Court recognizes                                         that two of the Minor Grandchildren, K.F.
 and E.F., have reached                                         the age of eighteen and are proceeding
 pro se in this action.                                          However, because E.F. and K.F. were
 minors when the motion                                         was filed, the Court will treat them as
 minors for purposes of                                         this Memorandum and Order.


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                                                                       BACKGROUND

 I.            Factual Background5

                              On November 9, 2011, Exeter filed for bankruptcy in this

 District under Chapter 11 of the Bankruptcy Code.                                                 (Compl. ¶¶ 2,

 11.)                 Plaintiff was subsequently appointed and authorized to

 commence this action against Defendants. (Compl. ¶¶ 13-14.)

               A. The Parties

                              The Committee consists of three unsecured creditors of

 Exeter: (1) the Larry Lawrence Family Trust, Larry Lawrence IRA;

 (2) Howard Berlin or Berlin Enterprises Employee Pension Fund; and

 (3) Leslie Whitney, an individual.                                               (Compl. ¶ 15.)

                              Exeter                 is         a   closely   held,   family-run   S   corporation

 founded in 1986 by Arnold Frank, the CEO.                                               (Compl. ¶¶ 75-76.)    At

 the time Plaintiff filed the Complaint, Exeter leased office space

 at 131 Jericho Turnpike, Suite 250, Jericho, New York.                                                   (Compl.

 ¶ 77.)

                                 Arnold Frank was a fifty-percent owner of Exeter.6

 (Compl. ¶ 16.)                                     He was married to Sondra Frank, an officer of


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 5 The facts alleged in the Complaint are presumed to be true for
 the purposes of this Memorandum and Order.

 6 Arnold Frank died while this action was pending. (See
 Suggestion of Death, Docket Entry 226.) Plaintiff renewed their
 motion to substitute Sondra Frank and Bruce Frank for Arnold
 Frank on November 24, 2017. (Mot. to Substitute, Docket Entry
 270.)
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 Exeter, who owns ten percent of Exeter.                                                 (Compl. ¶¶ 16-17, 75.)

 The remaining forty percent is owned by the Sondra Frank Grantor

 Remainder Annuity Trust.                                               (Compl. ¶ 75.)      Arnold and Sondra have

 three children: Linda Haltman, Bruce Frank, and Larry Frank (the

 “Children”).                             (Compl. ¶ 17.)

                              Linda Haltman is the President of Exeter and married to

 Michael Haltman.                                     (Compl. ¶¶ 12, 18.)             Michael is an employee of

 Exeter.                    (Compl. ¶ 75.)                              Linda and Michael have three children:

 Ryann Haltman, Samantha Haltman, and C.H.                                                     (Compl. ¶¶ 18-19.)

 Bruce Frank is married to Kathleen Frank, and the couple has four

 children: B.F., E.F., J.F., and K.F (along with Ryann, Samantha,

 and C.H., “the Grandchildren”).                                              (Compl. ¶¶ 20-21.)     The Complaint

 alleges                   that              Arnold               and     Sondra   Frank,    their   Children   and

 Grandchildren were insiders of Exeter as defined by the Bankruptcy

 Code.7                (Compl. ¶¶ 16-22.)

                              The Defendants also include fourteen corporations owned

 by Arnold Frank, Linda Haltman, Bruce Frank, or Larry Frank, or a

 combination                           thereof                   (the    “Property   Corporation     Defendants”).

 (Compl. ¶¶ 36-49.)                                             Although they are not Defendants, Plaintiff

 alleges that eight corporations that were dissolved before the

 filing of the Complaint are also relevant.                                                   (Compl. ¶ 50.)    The

 Complaint avers that these corporations were alter egos of Exeter


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 7   See 11 U.S.C. § 101(31), (45).
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 and their owners.      (Compl. ¶ 50.)      These twenty-two corporations

 will be referred to as the “Property Corporations.”

              The Committee also brought suit against a number of

 trusts created for the benefit of either one of the Children or

 the Grandchildren.       (Compl. ¶¶ 52-69.)        Plaintiff alleges that

 each of the beneficiaries of these trusts was an insider as defined

 by the Bankruptcy Code.        (Compl. ¶¶ 52-68.)       The trusts will be

 referred as the “Trust Defendants.”

       B. Exeter’s Business

              Exeter was in the business of making construction loans

 to builders and homeowners using a combination of bank loans, funds

 from family members, and funds loaned to the Company by various

 individuals and entities (“Non-Bank Lenders”).           (Compl. ¶ 80.)    In

 exchange, the Non-Bank Lenders would receive notes in which Exeter

 agreed to repay the loan at a specified interest rate.               (Compl.

 ¶¶ 81-82.)     Generally, when Exeter provided a construction loan,

 it received collateral, often in the form of a mortgage.             (Compl.

 ¶ 83.)

              Exeter   frequently    incorporated     entities   (previously

 referred to as the Property Corporations) “for the purpose of

 purchasing property or vacant lots” and used the address of the

 property as the name for the newly formed entity.            (Compl. ¶ 85.)

 Exeter loaned money, without liens, to the Property Corporations

 to purchase the property, and Exeter would recover the amount of

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 the loan, plus interest, once the property was sold.                                                         (Compl.

 ¶ 87.)                   Many of the transactions involved 124 New York Avenue

 Corp., which according to Linda Haltman, is “one in the same” with

 Exeter.8                    (Compl. ¶ 88.)                       After the property was purchased by the

 Property Corporation, Exeter would provide a construction loan to

 a       construction                            or         building   company      to   improve   the   property.

 (Compl. ¶ 89.)                                 However, after these transactions were finalized,

 “Exeter rarely sought to collect on the notes or to recover the

 property because each and every one of the Property Corporations

 was its alter ego as well as the alter ego of the owners of the

 Property Corporation.”                                         (Compl. ¶ 91.)         As of September 30, 2006,

 Exeter                  had            construction               loan        receivables   secured     by     first

 mortgages to twenty-seven Property Corporations in the amount of

 $13,085,919.00, and as of September 30, 2008, to twenty-four

 Property Corporations in the amount of $11,396,727.00.                                                       (Compl.

 ¶ 92.)

                              Occasionally,                       Exeter        also     engaged   in     mortgage

 transactions (“Mortgage Transactions”) in which it loaned funds to

 individuals or companies in exchange for collateral, usually a

 mortgage on the property which had either first or second priority.

 (Compl. ¶ 93.)                                 Because Exeter was a licensed mortgage banker, it

 was           required                      to          submit    quarterly       reports    detailing       certain


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 8 Linda Haltman testified at two hearings during the bankruptcy
 proceedings. (Compl. ¶ 12.)
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 financial     information,      including   information    for    affiliated

 companies such as the Property Corporations.           (Compl. ¶ 94.)

             The Mohrings, one of Exeter’s oldest clients, served as

 builders or contractors on a number of projects.             (Compl. ¶ 96.)

 Arnold Frank and Mr. Mohring agreed to more than ten deals “with

 a ‘handshake’” and without any written agreements, and on occasion,

 Exeter loaned money to the Mohrings on an unsecured basis. (Compl.

 ¶ 97.)      Plaintiff alleges that “as a result of their close

 relationship,” Defendants “frequently entered into transactions

 that were contrary to the Debtor’s normal course of business.”

 (Compl. ¶ 99.)        Additionally, Exeter’s unsecured loans to the

 Mohrings were never repaid and the security for the loans was

 “entirely inadequate collateral” and sometimes “conveyed to third

 parties . . . without [Exeter’s] knowledge or consent.”              (Compl.

 ¶ 102.)     Plaintiff details a number of transactions in which the

 Mohrings    violated    their    obligations    without    consequence    and

 conveyed or offered as collateral properties that were worthless

 due to a sale to a third party or other encumbrances, including at

 least one property that was subject to foreclosure.                  (Compl.

 ¶¶ 104-08.)     Additionally, approximately $1,700,000.00 loaned to

 the Mohrings, which was previously held in escrow, cannot be

 located.    (Compl. ¶ 109.)




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               C. Improper Management

                              In the wake of the housing crisis, Plaintiff alleges

 that            none             of         the            Defendants      “focused   on   furthering   Exeter’s

 business”                      and           did           not    appear   regularly   at   Exeter’s    offices.

 (Compl. ¶ 112.)                                  Arnold Frank and Linda Haltman did not attempt to

 collect on the loans to the Property Corporations and did nothing

 to ensure that Exeter made a profit on its business deals. (Compl.

 ¶ 112.)                  Around the end of 2010, Arnold Frank became ill; however,

 “despite his illness and inability to truly contribute to Exeter

 or its business, [he] continued to draw a salary,” and Exeter

 continued to pay for his “medical insurance and expenses, credit

 card bills, cell phone, car, and a driver.”                                                   (Compl. ¶ 114.)

 Sondra Frank, the secretary of Exeter, never came to Exeter’s

 offices, yet Exeter paid for her car.                                             (Compl. ¶¶ 115-16.)

                              Exeter’s President, Linda Haltman, was “clearly derelict

 in [her] duties,” and “undertook [ ] daily duties . . . which

 conflicted with the best interests of Exeter and its creditors” in

 order to “keep the stream of cash flowing to support the Frank-

 Haltman Clan.”                                 (Compl. ¶ 118.)              While President, she also served

 as           Chief                Financial                      Officer   of   Hallmark     Abstract    Service

 (“Hallmark”),9 also headquartered at Exeter’s offices.                                                   (Compl.

 ¶ 119.)                    During this time, Exeter paid Linda Haltman’s personal


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 9 Hallmark was a title company run by Linda and Michael Haltman.
 (Compl. ¶ 77(i).)
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  expenses, including the cost of a luxury vehicle.              (Compl. ¶ 120.)

  Since the filing of the bankruptcy petition, Linda Haltman has

  been permitted to continue serving as Exeter’s President so long

  as she provides status reports to the Committee.               (Compl. ¶ 121.)

  The Committee maintains that the information provided by Linda has

  been   “woefully    incomplete,”       that   she    has    failed   to   provide

  information of which she should be aware, and that she has provided

  contradictory      information    in    order   to    delay    the      bankruptcy

  proceeding and protect herself and her family.               (Compl. ¶ 122.)

         D. Transfers and Conveyances

              Plaintiff alleges that Exeter had been inadequately

  capitalized since at least January 1, 2006, rendering it insolvent

  from January 1, 2006 to the date of the bankruptcy petition,

  November 9, 2011 (the “Petition Date”).                (Compl. ¶¶ 137-138.)

  During that time, Defendants “transferred value out of Exeter in

  the form of loans, properties, and other payments funding their

  personal lifestyle” and “use[d] Exeter as their personal piggy

  bank.”   (Compl. ¶ 138.)

              Using several techniques, Defendants transferred money

  to   themselves    “for   their   private     gain    and    for   no   corporate

  benefit.”     (Compl. ¶ 139.)      For example, Exeter paid consulting

  fees to Larry Frank and Bruce Frank, despite Linda Haltman’s

  testimony during the bankruptcy proceedings that her brothers’

  roles were limited to “‘help[ing] her with making decisions and

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  giving advice.’”10                                      (Compl. ¶ 140.)      Exeter also paid: (1) medical

  expenses for various members of the Frank and Haltman families,

  (2) education expenses, including payments to universities and

  private schools, and (3) transportation expenses, including for

  vehicles used by Arnold Frank, Sondra Frank, Linda Haltman, and

  Michael Haltman.11                                     (Compl. ¶¶ 141-43.)      Plaintiff alleges that the

  vehicles were for personal use, and not used to carry out Exeter’s

  business.                        (Compl. ¶ 144.)                    Further, the Complaint alleges that

  the family provided no consideration for these payments, and that

  Exeter continued to pay even after it stopped paying the Non-Bank

  Lenders and the carrying costs for the properties it owned.

  (Compl. ¶¶ 146-47.)

                                  Additionally, the Committee alleges that Defendants

  fraudulently                            transferred            at    least    $10,037,583.22   from   Exeter

  between January 1, 2006 and the Petition Date.                                             (Compl. ¶ 150.)

  The Complaint states that transfers were made for the benefit of

  Arnold Frank, Sondra Frank, Linda Haltman, Michael Haltman, Bruce

  Frank, Kathleen Frank, Larry Frank, and Samantha Haltman without

  adequate consideration to Exeter.                                          (Compl.   ¶¶ 151-59.)   According


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  10Plaintiff alleges that when these consulting fees were paid,
  Bruce Frank lived in Colorado and Larry Frank lived in
  California. (Compl. ¶¶ 124, 128.)

  11Referred to the “Exeter Autos,” the vehicles were leased for
  three-year terms. In addition to the lease payments, Exeter
  paid for insurance, gas, tolls, and repairs for the vehicles.
  (Compl. ¶ 143.)
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  to Plaintiff, Exeter also loaned approximately $377,300.00 to

  trusts    benefitting   Defendants    during      the    same   period    for   no

  consideration.     (Compl. ¶¶ 160-65.)      The Committee further alleges

  that Arnold Frank withdrew $600,000.00 from Exeter during 2010 or

  2011 as repayment for loans he allegedly made to Exeter.                 (Compl.

  ¶ 174.)   Moreover, during the one year prior to the Petition Date,

  Exeter allegedly executed approximately $633,219.59 in avoidable

  transfers to Arnold Frank, Linda Haltman, Michael Haltman, Bruce

  Frank, Larry Frank, and the Arnold & Sondra Trust. (Compl. ¶¶ 166-

  72.)

               Plaintiff alleges that, since 2008, Exeter has written

  off    approximately    $10,000,000.00       of    the    $11,396,727.00        in

  outstanding construction loans to the Property Corporations for

  little or no consideration (the “Write-Off”).             (Compl. ¶¶ 176-77.)

  The Complaint avers that the Write-Off constitutes a breach of

  Arnold Frank and Linda Haltman’s duties and allowed the owners of

  the Property Corporations (members of the Frank-Haltman family) to

  benefit at the expense of Exeter.          (Compl. ¶¶ 178-79.)

               The   Complaint   also   details      a     series   of     property

  transactions in which Exeter conveyed pieces of property to the

  Property Corporations without memorializing the agreements in

  writing or requiring the Property Corporations to pay interest or

  principal.     (Compl. ¶¶ 181-82.)         As discussed, Exeter did not

  record its interest in any collateral nor prohibit the Property

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  Corporations from further encumbering the properties.                     (Compl.

  ¶ 182.)    Plaintiff claims that “Exeter gave these sweetheart deals

  to the Property Corporations’ Owners because both Exeter and the

  Property Corporations were dominated by the same Insiders for the

  Insiders’ personal gain.”         (Compl. ¶ 183.)    Plaintiff alleges that

  transactions involving 207 Parrish Pond Court West, 2 Short Path,

  3 Lewis Lane, 1670 Begonia Court, 171 Carica Road, and 11 Eden Roc

  Drive illustrate Defendants’ mismanagement, fraud, and the extent

  to which Defendants benefitted at the expense of Exeter.                     (See

  Compl. ¶¶ 184-294.)     Members of the Frank-Haltman family who owned

  Property    Corporations     also     allegedly     received         approximately

  $12,205,180.26     in    transfers     from     Exeter     to     the     Property

  Corporations.     (Compl. ¶ 295.)

        E. Fraudulent Financial Reporting

              Plaintiff alleges that Linda Haltman has “made a number

  of materially misleading statements in the materials provided to

  Exeter’s Non-Bank Lenders,” which breached her duties of loyalty

  and care to the Company.             (Compl. ¶ 303.)        It points to a

  November 4, 2010 letter (the “November 2010 Letter”) in which Linda

  Haltman represented that Exeter’s annual operating expenses of

  $420,000.00     “include[d]       interest     on   bank        debt,     employee

  compensation, carrying costs on mortgage, legal, insurance and

  office expenses,” but did not disclose the personal expenses paid

  by   Exeter.       (Compl.    ¶    304-05     (alteration       in     original).)

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  Additionally,     in    an   audit     report,    Exeter     disclosed     that

  construction    loans   to   twenty-four    Property       Corporations   were

  secured by first mortgages, when, in fact, the loans were entirely

  unsecured.    (Compl. ¶ 306.)     Moreover, while Exeter “was reporting

  receivables for the Property Corporation[s],” it was “not entirely

  accounting for the same entities’ liabilities.”              (Compl. ¶ 308.)

  The   Committee    maintains    that    these    misrepresentations       about

  “Exeter’s true financial health” caused significant losses to

  Exeter and the Non-Bank Lenders, who did not take action earlier

  to salvage Exeter’s value.       (Compl. ¶ 309.)

        F. Exeter’s Alter Egos

               The Committee avers that the Property Corporations and

  their owners were alter egos of Exeter. (Compl. ¶ 311.) Plaintiff

  alleges that they failed to observe corporate formalities, that

  Exeter and the Property Corporations shared owners, principals,

  directors, personnel, and a common office space, and that in its

  financial reporting, Exeter did not distinguish between property

  owned by Exeter and property owned by the Property Corporations.

  (Compl. ¶¶ 312-20.)      This conduct, including “depressing Exeter’s

  assets and collateral in order to fund the Insiders’ lifestyle,”

  allegedly caused “great harm to the Property Corporations, Exeter,

  and ultimately Exeter’s creditors.” (Compl. ¶¶ 314, 319.)




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  II.           Procedural History

                               Plaintiff commenced this adversary proceeding in the

  Bankruptcy Court in the Eastern District of New York on October

  23, 2012.                      (Bankr. Docket Sheet, Docket Entry 1-3.)                                 The Complaint

  asserts thirteen claims: (1) fraud against all Defendants; (2)

  actual                fraudulent                         transfer      under      Section   548(a)(1)(A)      of   the

  Bankruptcy Code against all Defendants; (3) actual fraudulent

  conveyance under Sections 276 and 276-a of the New York Debtor and

  Creditor                     Law            (“New              York   DCL”)      against    all    Defendants;     (4)

  constructive fraudulent transfer under Section 548(a)(1)(B) of the

  Bankruptcy                          Code                against       all        Defendants;      (5)   constructive

  fraudulent conveyance under Sections 273, 274, and 275 of the New

  York DCL against all Defendants; (6) to set aside avoidable

  preferences under Section 547 of the Bankruptcy Code against the

  Preferential Transfer Defendants;12 (7) breach of fiduciary duty

  of care against Linda Haltman and Arnold Frank; (8) breach of

  fiduciary duty of loyalty against Linda Haltman and Arnold Frank;

  (9) aiding and abetting a breach of fiduciary duty against all

  Defendants; (10) for a violation of Section 720 of the New York

  Business Corporations Law against Linda Haltman and Arnold Frank;

  (11) for a declaratory judgment that “Exeter and the Alter Ego


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  12The Preferential Transfer Defendants appear to be Arnold
  Frank, Linda Haltman, Michael Haltman, Bruce Frank, Larry Frank,
  and the Arnold & Sondra Trust. (Compl. ¶¶ 167-72.)


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  Insiders are or were the alter egos of the Property Corporations

  and Exeter, respectively, and are therefore liable for all of their

  debts”; (12) turnover and accounting under Section 542 of the

  Bankruptcy Code against all Defendants; and (13) unjust enrichment

  against the Fraudulent Transfer Recipient Defendants.13                                             (Compl.

  ¶¶ 323-401.)

                               On January 11, 2013, the Moving Defendants filed a motion

  to dismiss.                              (See Bankr. Docket Sheet; Mot. to Dismiss, Docket

  Entry 9.) Before the motion was resolved, Plaintiff filed a motion

  to withdraw the reference to the bankruptcy court.                                                 (Mot. to

  Withdraw                      Reference,                       Docket   Entry    1.)    As   discussed,   on

  September 18, 2013, this Court granted the motion.                                               (See Order

  Withdrawing Ref.)                                       In that Order, the Court directed the parties

  to file a joint letter attaching as exhibits the relevant filings

  from the Bankruptcy Court docket and directed the Clerk of the

  Court to docket the filings.                                            (Order Withdrawing Ref. at 3-4.)

  They were never separately docketed.                                            Further, the parties did not

  indicate in their correspondence to the Court that the motion was

  pending and inexplicably failed to bring the motion to the Court’s

  attention until 2016.                                           After becoming aware of the motion, this

  Court directed the Clerk of the Court to docket the motion and

  underlying briefing for the Court’s consideration.                                               (Mar. 2017


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  13Plaintiff identifies the Fraudulent Transfer Recipient
  Defendants in more detail in paragraph 302 of the Complaint.
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  Order, Docket Entry 239, at 8.)               Accordingly, the Clerk of the

  Court docketed the Notice of Motion, the Moving Defendants’ brief,

  Plaintiff’s opposition brief, and the Affidavit of Brian Serotta

  in opposition to the motion (“Serotta Affidavit”), each of which

  have been reviewed by the Court.               (See Mot. to Dismiss; Defs.’

  Br.; Pl.’s Opp., Docket Entry 243; Serotta Aff., Docket Entry 242.)

                                     DISCUSSION

  I.     Legal Standard

              Under Federal Rule of Civil Procedure 8, a complaint

  must contain “a short and plain statement of the claim showing

  that the pleader is entitled to relief.”                FED. R. CIV. P. 8(a)(2).

  Rule   12(b)(6)   provides    that      dismissal    is    appropriate     if    the

  complaint    fails   “to   state    a   claim    upon     which   relief   can    be

  granted.” FED. R. CIV. P. 12(b)(6). To survive a motion to dismiss,

  a complaint must plead “enough facts to state a claim to relief

  that is plausible on its face.”              Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007).                  A claim

  is plausible “when the plaintiff pleads factual content that allows

  the court to draw the reasonable inference that the defendant is

  liable for the misconduct alleged.”             Ashcroft v. Iqbal, 556 U.S.

  662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009). Although

  the Court must accept all allegations in the Complaint as true,

  this tenet is “inapplicable to legal conclusions.”                   Id.    Thus,

  “[t]hreadbare recitals of the elements of a cause of action,

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  supported by mere conclusory statements, do not suffice.”                                  Id.

  (citation        omitted).           Ultimately,          the   Court’s         plausibility

  determination          is   a     “context-specific         task   that         requires   the

  reviewing court to draw on its judicial experience and common

  sense.”    Id. at 679, 129 S. Ct. at 1950.

                  Rule 9(b) requires that a party alleging fraud or mistake

  “state with particularity the circumstances constituting fraud or

  mistake,” but “[m]alice, intent, knowledge, and other conditions

  of a person’s mind may be alleged generally.”                          Fed. R. Civ. P.

  9(b).     This requirement ensures that defendants are given “fair

  notice     of     a    plaintiff’s      claim,       to    safeguard        a    defendant’s

  reputation from improvident charges of wrongdoing, and to protect

  a defendant against the institution of a strike suit.”                            Fed. Nat’l

  Mortg. Ass’n v. Olympia Mortg. Corp., No. 04-CV-4971, 2006 WL

  2802092,        *4    (E.D.N.Y.       Sept.    28,        2006).       To       satisfy    the

  particularity requirement, a complaint must: “(1) specify the

  statements       that       the    plaintiff     contends       were   fraudulent,         (2)

  identify the speaker, (3) state where and when the statements were

  made,    and     (4)    explain      why   the     statements      were         fraudulent.”

  Olympia, 2006 WL 2802092, at *4 (citing Lerner v. Fleet Bank, N.A.,

  459 F.3d 273, 290 (2d Cir. 2006)).                        Further, “the pleader must

  allege facts that give rise to a strong inference of fraudulent

  intent” by pleading facts that show either that (1) “defendants

  had both motive and opportunity to commit fraud” or (2) “strong

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  circumstantial evidence of conscious misbehavior or recklessness.”

  Olympia, 2006 WL 2802092, at *4.

              In deciding a motion to dismiss, the Court is generally

  confined to “the allegations contained within the four corners of

  [the] complaint.”     Pani v. Empire Blue Cross Blue Shield, 152 F.3d

  67, 71 (2d Cir. 1998).           However, the Court may consider “any

  written instrument attached to [the complaint] as an exhibit,

  materials incorporated in it by reference, and documents that,

  although    not   incorporated    by   reference,   are   integral   to   the

  complaint.”       Sira v. Morton, 380 F.3d 57, 67 (2d Cir. 2004)

  (internal quotation marks and citation omitted); see also Chambers

  v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (observing

  that a document is “integral” if the complaint “relies heavily

  upon its terms and effect”) (internal quotation marks and citation

  omitted).

  II.   Conversion to Summary Judgment

              At the outset, the Court declines to convert the motion

  to dismiss to one for summary judgment. In their brief, the Moving

  Defendants cite Exhibit B--a spreadsheet detailing the balances of

  the Grandchildrens’ trust accounts--which, because it was not

  attached to or incorporated in the Complaint, may not be considered

  on a motion to dismiss. (See, e.g., Defs.’ Br. at 9.) In response,

  Plaintiff submitted the Serotta Affidavit to counter the facts in

  Exhibit B in the event that the Court decided to construe the

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  Moving Defendants’ motion as one for summary judgment.                     (Pl.’s

  Opp. at 26-29.)        Because the Court finds that conversion is

  inappropriate, it will not consider either Exhibit B or the Serotta

  Affidavit.

  III.   The Proper Parties

               The   Moving   Defendants      argue    that   the   Moving   Trusts

  should be dismissed from this action because “the trustee of a

  trust [is] the real party in interest” and the trustees are also

  named as Defendants.        (Defs.’ Br. at 6.)         Plaintiff opposes the

  dismissal of the Moving Trusts, arguing that the Moving Defendants

  have offered no controlling authority supporting dismissal and

  that the Committee named the Moving Trusts as Defendants to ensure

  that all necessary parties were joined.              (Pls.’ Opp. at 25.)

               The   authority   cited     by    the    Moving      Defendants   is

  inapposite.    See Navarro Sav. Ass’n v. Lee, 446 U.S. 458, 465-66,

  100 S. Ct. 1779, 1784, 64 L. Ed. 2d 425 (1980) (holding that in

  light of the power and control given to the trustees under the

  declaration of trust, the trustees’ citizenship was operative for

  purposes of diversity jurisdiction); Henning v. Rando Mach. Corp.,

  207 A.D.2d 106, 110, 620 N.Y.S.2d 867 (4th Dep’t 1994) (affirming

  dismissal of claims against beneficiaries of trust); Gaigal v.

  Laub, 236 A.D.2d 362, 363, 653 N.Y.S.2d 637 (2d Dep’t 1997)

  (holding that trust became irrevocable upon husband’s death); In

  re Markos Gurnee P’ship, 182 B.R. 211, 228 (Bankr. N.D. Ill. 1995)

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  (holding that trustee was not personally liable for unpaid taxes).

  Thus, the Court declines to dismiss the Moving Trusts on this

  basis.

                Additionally,       the   Moving    Defendants    argue    that   the

  claims against the Minor Grandchildren should be dismissed because

  their interests “are adequately represented by their parents, who

  have been named as Defendants in this action in their capacities

  as the guardians of the Minor Grandchildren.”                  (Defs.’ Br. at 6

  (internal quotation marks omitted).)                The Committee opposes the

  dismissal of the Minor Grandchildren.              (Pl.’s Opp. at 6-7.)

                Aside   from    a     general      allegation    that     the   Minor

  Grandchildren are insiders of the Debtor, the allegations related

  to the Minor Grandchildren, C.H., B.F., E.F., J.F., and K.F.,

  concern the trusts of which they are beneficiaries.                   (See Compl.

  ¶¶   60-62,    64-65.)       However,     the     trustees,    rather    than   the

  beneficiaries, are the proper defendants.              See Sullivan v. Kodsi,

  373 F. Supp. 2d 302, 310 (S.D.N.Y. 2005) (rejecting plaintiff’s

  argument that beneficiaries were indispensable parties because

  “the beneficiaries’ interest [was] sufficiently protected by the

  present trustee . . . who has been named as a defendant . . . and

  [ ] who is not alleged to have any interest which conflicts with

  those of the Trust’s beneficiaries”); United States v. Sullivan,

  No. 10-CR-821-1, 2016 WL 1626622, at *5 (N.D. Ill. Apr. 21, 2016)

  (“Courts have repeatedly held that in suits by third parties

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  brought against the trust property, where there is no conflict of

  interest between the trustee and the beneficiary, a suit against

  the trustee is proper and the beneficiary is not a necessary

  party.”) (collecting cases).            Generally, beneficiaries are only

  indispensable parties when there is a dispute between particular

  beneficiaries and the trustee, and the remaining beneficiaries are

  not parties.     See Matthies v. Seymour Mfg. Co., 270 F.2d 365, 374

  (2d Cir. 1959) (“The beneficiaries are indispensable to an action

  to surcharge the trustee and restore corpus.”); Byrd v. Corestates

  Fin. Corp., No. CIV. A. 94-1359, 1994 WL 622103, at *2-3 (E.D. Pa.

  Nov.   9,    1994)    (holding   that    non-diverse    beneficiary    was    an

  indispensable party when two of the four beneficiaries brought

  suit against the trustees).

               Here, the trustees’ and beneficiaries’ interests are

  aligned, and there is no conflict of interest between them.                  See

  Sullivan, 2016 WL 1626622, at *6 (“[A]bsent a conflict of interest

  between Ms. Sullivan as trustee and co-beneficiary and Joseph as

  co-beneficiary, Joseph is not a necessary party to this action

  under Rule 19(a).”); Kodsi, 373 F. Supp. 2d at 310 (dismissing

  claims      against   beneficiaries      of   trust    when   there   were    no

  allegations that beneficiaries participated in the fraudulent

  transfers).     Thus, the claims against C.H., B.F., E.F., J.F., and

  K.F. and the claims against Linda and Michael Haltman as guardians

  of C.H., and Bruce and Kathleen Frank as guardians of B.F., E.F.,

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  J.F., and K.F. are DISMISSED.14                                         Additionally, the Complaint does

  not include any specific allegations regarding Ryann Haltman other

  than in his capacity as a beneficiary.                                              Therefore, for the same

  reasons, the claims against Ryann Haltman are also DISMISSED.

  IV.           Fraud and Fraudulent Conveyance Claims

                               The             Moving            Defendants   argue    that   the   fraud   and

  fraudulent conveyance claims must be dismissed against the Moving

  Trusts because the Complaint fails to identify the Moving Trusts

  as the recipients of any fraudulent loans.                                           (Defs.’ Br. at 7.)    As

  to the payment of certain expenses by Exeter, the Moving Defendants

  maintain that the Complaint fails to allege specific facts to

  support fraud and actual fraudulent conveyance claims.                                               (Defs.’

  Br. at 8.)                          They contend that the allegations related to medical

  and education expenses are vague and fail to connect the expenses

  to a particular Defendant.                                           (Defs.’ Br. at 8-9.)         The Moving

  Defendants also request that the Court dismiss the constructive

  fraudulent conveyance claim.                                         (Defs.’ Br. at 9.)     According to the

  Moving Defendants, for example, the education expenses were paid

  using proceeds from “investments made by the Grandchildren in the


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  14It appears that Plaintiff may have anticipated this outcome.
  Plaintiff does not cite any authority indicating that the Minor
  Grandchildren, as beneficiaries of the trusts, should remain
  parties to this action. (See Pl.’s Opp. at 25.) Rather, the
  Committee states that the Minor Grandchildren were joined “in an
  abundance of caution . . . to avoid a FRCP 12(b)(7) motion to
  dismiss for an alleged failure to join an indispensable party.”
  (Pl.’s Opp. at 25.)
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  Debtor with their own money long before January 1, 2006,” and “the

  payments     were   charged       against      Samantha       Haltman’s    and    Ryann

  Haltman’s respective Investment Accounts.”                     (Defs.’ Br. at 9.)

  They also argue that the Complaint fails to specify the amount of

  the payments to universities and medical providers, and that,

  according to Linda Haltman, Exeter had a policy of reimbursing

  medical expenses. (Defs.’ Br. at 9-11.)

               Plaintiff     responds       that    the     Complaint       sufficiently

  alleges a claim for actual fraudulent conveyance based on Linda

  Haltman’s misleading disclosures in the November 2010 Letter and

  the other fraud allegations in the Complaint.                   (Pl.’s Opp. at 15.)

  The Committee contends that these allegations, as well as the

  familial relationships between the Defendants and the timing of

  the transfers, “give rise to a strong inference of Mrs. Haltman’s

  fraudulent    intent.”        (Pl.’s      Opp.    at     15-16.)      Additionally,

  Plaintiff contends that the allegations are sufficient to state a

  claim for constructive fraudulent conveyance, particularly in

  light   of   the    fact   that    such     claims      are   not   subject      to   the

  heightened pleading standard of Rule 9(b).                     (Pl.’s Opp. at 16.)

  The Committee points out that the Complaint alleges that while

  Exeter was insolvent, the Moving Trusts, as part of the group of

  insider trusts, received transfers without any indication that

  adequate consideration was provided.                     (Pl.’s Opp. at 16-17.)

  Moreover, Plaintiff contends that it has adequately pled a claim

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  under Section 550 of the Bankruptcy Code for “strict liability on

  the Moving Defendants as either both initial transferees of an

  alleged fraudulent transfer and entities for whose benefit such

  transfer was made.”      (Pl.’s Opp. at 17 (internal quotation marks

  omitted).)

               Because the Moving Defendants mention the fraud claim

  only in passing and focus exclusively on the fraudulent conveyance

  claims in their brief, the Court will limit its discussion to the

  conveyance claims.      (See Defs.’ Br. at 7-11.)

               The Committee has asserted claims for actual fraudulent

  conveyance under Section 548(a)(1)(A) of the Bankruptcy Code and

  Sections 276 and 276-a of the New York DCL.           (Compl. ¶¶ 330-41.)

  These claims must be pled with specificity pursuant to Rule 9(b).

  In re Sharp Int’l Corp., 403 F.3d 43, 56 (2d Cir. 2005).               Under

  Section 548(a)(1)(A) of the Bankruptcy Code, a transfer made within

  two years of the bankruptcy petition may be avoided “if the debtor

  voluntarily or involuntarily . . . made such transfer . . . with

  actual intent to hinder, delay, or defraud.”           11 U.S.C. § 548(a)

  (1)(A); see also In re Geltzer, 502 B.R. 760, 766 (Bankr. S.D.N.Y.

  2013).     Similarly, to state a claim for intentional fraudulent

  conveyance under New York DCL Section 276, “‘a creditor must show

  intent to defraud on the part of the transferor.’”             In re Sharp,

  403 F.3d at 56 (quoting HBE Leasing Corp. v. Frank, 61 F.3d 1054,

  1059, n.5 (2d Cir. 1995)).         General allegations that “a debtor

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  made an aggregate amount or series of cash or other transfers over

  a   period     of    time,    without         further         particularization,           are

  insufficient to state an intentional fraudulent transfer claim.”

  In re M. Fabrikant & Sons, Inc., 394 B.R. 721, 733 (Bankr. S.D.N.Y.

  2008).       The    plaintiff    must        “‘specify        the     property      that   was

  allegedly conveyed, the timing and frequency of those allegedly

  fraudulent     conveyances,          [and]    the      consideration         paid.’”       Id.

  (quoting     United    Feature        Syndicate,         Inc.       v.    Miller    Features

  Syndicate,     Inc.,    216     F.    Supp.       2d   198,     221      (S.D.N.Y.     2002))

  (alteration in original).              If the plaintiff can prove intent to

  defraud, the conveyance will be nullified regardless of whether

  there was adequate consideration.                  In re Sharp, 403 F.3d at 56.

               “Actual intent need not be proven by direct evidence,

  but may inferred from the circumstances surrounding the allegedly

  fraudulent     transfer.”             Olympia,         2006     WL       2802092,    at    *9.

  Specifically, “the pleader is allowed to rely on ‘badges of fraud’

  to support his case, i.e., circumstances so commonly associated

  with fraudulent transfers that their presence gives rise to an

  inference of intent.”         In re Sharp, 403 F.3d at 56 (quoting Wall

  St. Assocs. v. Brodsky, 257 A.D.2d 526, 529, 684 N.Y.S.2d 244, 247

  (1st Dep’t 1999)).       Badges of fraud include “lack or inadequacy of

  consideration, family, friendship, or close associate relationship

  between    transferor     and    transferee,            the   debtor’s       retention      of

  possession, benefit, or use of the property in question, the

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  existence of a pattern or series of transactions or course of

  conduct after the incurring of debt, [ ] the transferor’s knowledge

  of the creditor’s claim and the inability to pay it,” Olympia,

  2006 WL 2802092, at *9, “the general chronology of the event and

  transactions under inquiry,” “a questionable transfer not in the

  usual course of business,” and “the secrecy, haste, or unusualness

  of the transaction,” In re Saba Enterprises, Inc., 421 B.R. 626,

  643 (Bankr. S.D.N.Y. 2009).       While it is generally the plaintiff’s

  burden to prove that the transfer was fraudulent, when assets are

  transferred between family members and “where facts concerning the

  nature of the consideration are within the exclusive control of

  the transferee, the burden shifts to the transferee to prove the

  adequacy of the consideration.”         Olympia, 2006 WL 2802092, at *8

  (citing United States v. McCombs, 30 F.3d 310, 324 (2d Cir. 1994)).

  If the consideration was inadequate, the transferee must show

  “continued solvency” after the transfer.          Id.

              The Committee has also asserted claims for constructive

  fraudulent conveyance under Section 548(a)(1)(B) of the Bankruptcy

  Code and Sections 273, 274, and 275 of the New York DCL.             (Compl.

  ¶¶ 342-57.)     Under Section 548(a)(1)(B), a transfer made within

  two years of the bankruptcy petition may be avoided

              “if the debtor voluntarily or involuntarily .
              . .




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               (i) received less than a reasonably equivalent
               value in exchange for such transfer or
               obligation” and
               (ii)(I) “was insolvent on the date that such
               transfer was made or such obligation was
               incurred, or became insolvent as a result of
               such transfer or obligation”;
               (II) “was engaged in business or transaction,
               or was about to engage in business or a
               transaction, for which any property remaining
               with the debtor was an unreasonably small
               capital”;
               (III) “intended to incur, or believed that the
               debtor would incur, debts that would be beyond
               the debtor’s ability to pay as such debts
               matured”; or
               (IV) “made such transfer to or for the benefit
               of an insider, or incurred such obligation to
               or for the benefit of an insider, under an
               employment contract and not in the ordinary
               course of business.”

  11 U.S.C. § 548(a)(1)(B); see also Geltzer, 502 B.R. at 766.              The

  elements of a constructive fraudulent conveyance claim under New

  York DCL are similar.        Geltzer, 502 B.R. at 771 (“[T]he elements

  of a constructive fraudulent conveyance under N.Y. DCL resemble

  those in § 548 of the Bankruptcy Code.”). Unlike actual fraudulent

  conveyance     claims,   a    plaintiff    is    not     required   to   plead

  constructive     fraudulent    conveyance       claims    with   specificity.

  Olympia, 2006 WL 2802092, at *8.          Further, because constructive

  fraud claims do not require proof of fraudulent intent, a plaintiff

  pleading constructive fraud need not allege an intent to deceive.

  See Kodsi, 373 F. Supp. 2d at 307.

               The Complaint details several categories of fraudulent

  conveyances. The Committee alleges that the Debtor paid consulting

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  fees to Bruce and Larry Frank for unspecified services, medical

  and    education      expenses     for     various       family        members,    and

  transportation       expenses,    including        vehicles,      insurance,       gas,

  tolls, and repairs, for Arnold Frank, Sondra Frank, Linda Haltman,

  and   Michael      Haltman.      (Compl.      ¶¶     140-43.)         It   avers   that

  approximately $10,037,583.22 was transferred to Arnold Frank,

  Sondra     Frank,    Linda    Haltman,     Michael      Haltman,       Bruce   Frank,

  Kathleen     Frank,     Larry     Frank,       and     Samantha        Haltman,    and

  approximately $377,300.00 to the Arnold & Sondra Frank Trust, the

  Hank Frank Trust, and the Ruth Frank Trust without adequate

  consideration.       (Compl. ¶¶ 150-63.)           Additionally, the Complaint

  alleges     that     since    2008,      Exeter      wrote      off    approximately

  “$10,000,000.00 of $11,396,727.00 in construction loans made by

  the Debtor to its related Property Corporations, owned by various

  combinations of Arnold Frank, Linda Haltman, Bruce Frank and/or

  Larry Frank” and transferred property to the Property Corporations

  for little or no consideration.               (Compl. ¶¶ 176, 181-294.)            The

  Property     Corporations       also   allegedly        received       approximately

  $12,205,180.26 in fraudulent disbursements.                  (Compl. ¶¶ 295-302.)

               While the Court finds that the fraudulent conveyance

  allegations generally satisfy the requirements of Rule 8 and Rule

  9(b), aside from general allegations referring to transfers to

  “trusts,” none of the allegations address conveyances to the Moving

  Trusts.    (See, e.g., Compl. ¶ 3 (“The Debtor would . . . transfer

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  funds and/or properties to the Defendants, trusts held for their

  benefit, or various related entities owned by them.”).)            In regard

  to the other Defendants, the Committee details the various schemes,

  (including the dates, amounts, and recipients of the transfers),

  and several badges of fraud are present which support a strong

  inference of fraudulent intent.           However, the Complaint does not

  include any specific allegations regarding the Moving Trusts.             The

  Court recognizes that for the constructive fraud claims, the

  Committee is not required to plead the allegations with specificity

  under Rule 9(b).       However, under either Rule 8 or Rule 9(b), the

  allegations against the Moving Trusts are insufficient.                   See

  Safety-Kleen Sys., Inc. v. Silogram Lubricants Corp., No. 12-CV-

  4849, 2013 WL 6795963, at *7 (E.D.N.Y. Dec. 23, 2013) (“[T]he

  plaintiff must still at the very least allege a minimum of facts

  that demonstrate the basis for the claim that a fraudulent transfer

  has occurred.”).

              Therefore,    the   actual      and   constructive    fraudulent

  conveyance claims against the C.H. Trust, the Ryann Haltman Trust,

  the Samantha Haltman Trust, the B.F. Trust, the E.F. Trust, the

  J.F. Trust, the K.F. Trust, the Barbara Cohen – Linda Haltman

  Trust, the Murray Cohen – Linda Haltman Trust, the Barbara Cohen

  – Bruce Frank Trust, the Murray Cohen – Bruce Frank Trust, the

  Barbara Cohen – Larry Frank Trust, and the Murray Cohen – Larry

  Frank   Trust    are    DISMISSED.        Additionally,   the    actual   and

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  constructive fraudulent conveyance claims against Linda Haltman

  and Michael Haltman as trustees for the C.H. Trust, the Ryann

  Haltman Trust, and the Samantha Haltman Trust; Bruce Frank and

  Kathleen Frank as trustees for the B.F. Trust, the E.F. Trust, the

  J.F. Trust, and the K.F. Trust; and Sondra Frank as trustee for

  the Barbara Cohen – Linda Haltman Trust, the Murray Cohen – Linda

  Haltman Trust, the Barbara Cohen – Bruce Frank Trust, the Murray

  Cohen – Bruce Frank Trust, the Barbara Cohen – Larry Frank Trust,

  and the Murray Cohen – Larry Frank Trust are also DISMISSED.

  V.            Aiding and Abetting a Breach of Fiduciary Duty

                               The           Moving              Defendants   argue   that   the   Court   should

  dismiss the aiding and abetting claim against the remaining Non-

  Minor Grandchild, Samantha Haltman.15                                          (Defs.’ Br. at 12-14.)      They

  contend that regardless of whether Linda Haltman and Arnold Frank’s

  conduct qualifies as a breach of fiduciary duty, the Committee has

  failed to sufficiently allege that Samantha knowingly participated

  in the breach.                                 (Defs.’ Br. at 13.)

                               Plaintiff responds that the Court should infer that

  Samantha, who grew “accustomed to the expenses that Exeter paid

  for [her] and lived with [her] parents while the Fiduciary Breaches

  occurred[,] . . . knowingly encouraged [her] parents to continue



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  15The Court need not consider a similar argument regarding the
  Minor Grandchildren or Ryann Haltman, who after the entry of
  this Order, will no longer be Defendants in this action.
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  to operate the business so [her] lifestyle would not be diminished

  even if doing so would harm Exeter’s creditors.”            (Pl.’s Opp. at

  22.)   The Committee also maintains that Samantha was incentivized

  to encourage the breaches because funds from Exeter were used to

  pay her college expenses.       (Pl.’s Opp. at 22, n.17.)

               To state a claim under New York law for aiding and

  abetting a breach of fiduciary duty, a plaintiff must demonstrate:

  (1) “a breach by a fiduciary of obligations to another of which

  the aider and abettor had actual knowledge,” (2) “the defendant

  knowingly induced or participated in the breach,” and (3) the

  “plaintiff suffered damage as a result of the breach.”                 In re

  Sharp, 403 F.3d at 49-50 (internal quotation marks and citation

  omitted).     The second element, inducement or participation, is

  satisfied when the defendant “provides ‘substantial assistance’ to

  the primary violator,” that is, “where the alleged aider and

  abettor ‘affirmatively assists, helps conceal or fails to act when

  required to do so, thereby enabling the breach to occur.’”               Id.

  at 50 (quoting Kaufman v. Cohen, 307 A.D.2d 113, 126, 760 N.Y.S.2d

  157, 170 (1st Dep’t 2003)).       An aiding and abetting claim must be

  pled with the specificity required by Rule 9(b).          Olympia, 2006 WL

  2802092, at *4.

               The aiding and abetting claims against Samantha must be

  dismissed.    As an initial matter, the Committee’s allegation that

  Samantha “knowingly encouraged” the fiduciary breaches is not

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  contained in the Complaint.           The Complaint alleges generally that

  “Defendants were each aware of the fiduciary duties held by Linda

  Haltman and Arnold Frank to the Debtor and/or its creditors and

  . . . are liable to the Plaintiff for their knowing participation

  in the breaches.”           (Compl. ¶ 381.)         The Complaint alleges one

  fraudulent transfer to Samantha in the amount of $635.00.                     (Compl.

  ¶   157.)    There     are    no   allegations      indicating        that   Samantha

  participated      in   or    helped       to    conceal    the    alleged     schemes

  perpetrated by her family members.               While the Complaint refers to

  education expenses paid by Exeter to schools that the Grandchildren

  attended, that allegation is not sufficient to support an aiding

  and abetting claim against Samantha, particularly in light of the

  heightened pleading burden for such claims.                 In sum, the Complaint

  fails to plead sufficient facts from which the Court can infer

  that   Samantha    knowingly        encouraged      the     alleged    breaches     of

  fiduciary duty. Moreover, the Complaint does not adequately allege

  that Samantha provided “substantial assistance” to her mother or

  grandfather as required by New York law.                    See In re Sharp, 403

  F.3d   at   50   (discussing       that   New    York     law   requires     that   the

  defendant “affirmatively assists, helps conceal or fails to act

  when required to do so” to establish substantial assistance).

  Therefore, the aiding and abetting claim against Samantha Haltman

  is DISMISSED.



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  VI.    Turnover and Accounting

              The   Moving     Defendants    argue   that    the    turnover    and

  accounting claim should be dismissed against the Moving Trusts and

  Samantha    Haltman,    because    until    assets       are   recovered,    the

  Committee cannot assert a claim for turnover.             (Defs.’ Br. at 14.)

  Plaintiff responds that pairing the fraudulent transfer claims and

  the turnover claims promotes judicial economy.                   (Pl.’s Opp. at

  24.)

              The Committee’s claim for turnover is based on Section

  542 of the Bankruptcy Code.          (Compl. ¶¶ 393-97.)            Section 542

  requires that, after the commencement of a bankruptcy proceeding,

  entities or individuals in possession of the debtor’s property

  turn it over to the trustee.        11 U.S.C. § 542.

              Because    the    Committee     has    not    sufficiently       pled

  fraudulent conveyance claims against the Moving Trusts and the

  Moving Trustees, the turnover and accounting claims against them

  are DISMISSED. However, the Court declines to dismiss the turnover

  and accounting claim against Samantha Haltman in light of the fact

  that Plaintiff has asserted a viable fraudulent conveyance claim

  against her.      (See Compl. ¶ 157.)

  VII. Unjust Enrichment

              The Moving Defendants contend that “consider[ing] the

  nominal sums involved, the fact that the Debtor’s policy of

  reimbursing family Medical Expenses was in effect long before

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  February 1, 2006 and the additional fact that Education Expenses

  were    charged     against   Investment      Accounts      funded     by   the

  Grandchildren,” the Court should dismiss the unjust enrichment

  claim against the Moving Trusts and Samantha Haltman.            (Defs.’ Br.

  at 15.)    Plaintiff responds that these facts are extraneous and

  that the allegations are adequate to state a claim for unjust

  enrichment.

              Under    New   York    law,    unjust   enrichment   is     quasi-

  contractual claim “imposed by law[ ] in the absence of a valid and

  enforceable contract[ ] because of the conduct of the parties or

  some   special      relationship    between    them,   to   prevent      unjust

  enrichment.”      Olympia, 2006 WL 2802092, at *6.           It occurs when

  “(1) the defendant benefitted; (2) at the plaintiff’s expense; and

  (3) [ ] equity and good conscience require restitution.”               Kaye v.

  Grossman, 202 F.3d 611, 616 (2d Cir. 2000) (internal quotation

  marks and citation omitted).

              The Court declines to dismiss the unjust enrichment

  claim for any of the reasons stated by the Moving Defendants.

  However, dismissal of this claim is warranted against the Moving

  Trusts and the Moving Trustees because as set forth above, the

  Complaint fails to state a claim for fraudulent conveyance claims

  against them.     In other words, the Complaint fails to allege that

  they benefitted at the expenses of Exeter’s creditors.               Therefore,

  the unjust enrichment claims against the Moving Trusts and the

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  Moving Trustees are DISMISSED.                  However, the unjust enrichment

  claim against Samantha Haltman will proceed.

                                    LEAVE TO AMEND

                Plaintiff has requested leave to amend the Complaint.

  The Second Circuit has held that “[w]hen a motion to dismiss is

  granted,      the    usual   practice      is   to   grant    leave   to     amend   the

  complaint.”         Hayden v. Cty. of Nassau, 180 F.3d 42, 53 (2d Cir.

  1999), overruled on other grounds, Gonzaga v. Doe, 536 U.S. 273,

  122 S. Ct. 2268, 153 L. Ed. 2d 309 (2002).                    See also FED. R. CIV.

  P. 15(a)(2) (“The court should freely give leave [to amend] when

  justice so requires.”).               “However, a district court has the

  discretion to deny leave to amend where there is no indication

  from a liberal reading of the complaint that a valid claim might

  be stated.”         Perri v. Bloomberg, No. 11-CV-2646, 2012 WL 3307013,

  at *4 (E.D.N.Y. Aug. 13, 2012).                 Because the Court believes that

  the   Committee       should     be   given     an   opportunity      to    amend    the

  allegations to remedy the deficiencies, leave to amend is GRANTED.

  Plaintiff      may    re-plead    the   fraudulent       conveyance        claims,   the

  turnover and accounting claim, and the unjust enrichment claim

  against the Moving Trusts and the Moving Trustees, and the aiding

  and abetting claim against Samantha Haltman, if it chooses.                       Leave

  to    amend    is     DENIED     as   to    the      claims   against       the   Minor

  Grandchildren, the Guardians of the Minor Grandchildren, and Ryann



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  Haltman.     An Amended Complaint must be filed within sixty (60)

  days of the date of this Memorandum and Order.

                                   CONCLUSION

              For the foregoing reasons, the motion to dismiss (Docket

  Entry 240) is GRANTED IN PART AND DENIED IN PART.           The fraudulent

  conveyance claims, the turnover and accounting claim, and the

  unjust enrichment claim are DISMISSED WITHOUT PREJUDICE against

  the C.H. Trust, the Ryann Haltman Trust, the Samantha Haltman

  Trust, the B.F. Trust, the E.F. Trust, the J.F. Trust, the K.F.

  Trust, the Barbara Cohen – Linda Haltman Trust, the Murray Cohen

  – Linda Haltman Trust, the Barbara Cohen – Bruce Frank Trust, the

  Murray Cohen – Bruce Frank Trust, the Barbara Cohen – Larry Frank

  Trust, and the Murray Cohen – Larry Frank Trust, Linda Haltman and

  Michael Haltman as trustees for the C.H. Trust, the Ryann Haltman

  Trust, and the Samantha Haltman Trust, Bruce Frank and Kathleen

  Frank as trustees for the B.F. Trust, E.F. Trust, the J.F. Trust,

  and the K.F. Trust, and Sondra Frank as trustee for the Barbara

  Cohen – Linda Haltman Trust, the Murray Cohen – Linda Haltman

  Trust, the Barbara Cohen – Bruce Frank Trust, the Murray Cohen –

  Bruce Frank Trust, the Barbara Cohen – Larry Frank Trust, and the

  Murray Cohen – Larry Frank Trust.          The aiding and abetting claim

  is DISMISSED WITHOUT PREJUDICE against Samantha Haltman. The Court

  GRANTS the Committee leave to amend the Complaint to re-plead the



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  claims dismissed without prejudice within sixty (60) days of the

  date of this Memorandum and Order.

              The Complaint is DISMISSED WITH PREJUDICE against C.H.,

  B.F., E.F., J.F., K.F., Ryann Haltman, Linda and Michael Haltman

  as guardians of C.H., and Bruce and Kathleen Frank as guardians of

  B.F., E.F., J.F., and K.F.       The Clerk of the Court is directed to

  TERMINATE C.H., B.F., E.F., J.F., K.F., Ryann Haltman, Linda

  Haltman as guardian of C.H., Michael Haltman as guardian of C.H.,

  Bruce Frank as guardian of B.F., Bruce Frank as guardian of E.F.,

  Bruce Frank as guardian of J.F., Bruce Frank as guardian of K.F.,

  Kathleen Frank as guardian of B.F., Kathleen Frank as guardian of

  E.F., Kathleen Frank as guardian of J.F., and Kathleen Frank as

  guardian of K.F. as defendants in this action.

              Plaintiff is directed to serve a copy of this Memorandum

  and Order on the pro se Defendants via first class mail or e-mail

  and file proof of service on ECF promptly.



                                            SO ORDERED.



                                            /s/ JOANNA SEYBERT______
                                            Joanna Seybert, U.S.D.J.



  Dated:      March   30 , 2018
              Central Islip, New York




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